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       UNITED STATES OLYMPIC COMMITTEE
12

13                            UNITED STATES DISTRICT COURT
14                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
15                                     SOUTHERN DIVISION
16                                                   Civil Case No.: 2:18-CV-3461-JLS-KES
        MCKAYLA MARONEY
17
                                                     DECLARATION OF DAVID M.
18                        Plaintiff,
                                                     JOLLEY IN SUPPORT OF EX
19                                                   PARTE APPLICATION
              vs.
20
        MICHIGAN STATE UNIVERSITY,                   Compl. Filed: Dec. 20, 2017
21      UNITED STATES OLYMPIC                        Judge:      Hon. Karen E. Scott
22      COMMITTEE, USA GYMNASTICS,                   Courtroom: 6D
        LARRY NASSAR, AND DOES 1
23      THROUGH 500
24
                          Defendants.
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                DECLARATION OF DAVID M. JOLLEY; CASE NO.: 2:18-CV-3461-JLS-KES
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 1                                DECLARATION OF DAVID M. JOLLEY
 2           I, David M. Jolley, declare:
 3           1.     I am an attorney in the law firm of Covington & Burling LLP and counsel of
 4     record for Defendant United States Olympic Committee (“USOC”) in this action. I am
 5     licensed to practice law in the State of California. The matters set forth herein are true
 6     and correct of my own personal knowledge and information provided to me. If called as
 7     a witness, I could and would testify competently thereto.
 8           2.     On July 13, 2018, counsel for Plaintiff and USOC engaged in a meet-and-
 9     confer telephone call in connection with USOC’s anticipated motion to dismiss based on
10     the Complaint’s failure to allege facts supporting personal jurisdiction over USOC in
11     California. During that call, counsel for the parties discussed Plaintiff’s request for
12     expedited jurisdictional discovery in response to USOC’s argument about the failure of
13     the Complaint to allege facts supporting personal jurisdiction. Counsel for USOC
14     refused to stipulate to expedited jurisdictional discovery because the Complaint fails to
15     make even a colorable showing of personal jurisdiction. In response, Plaintiff’s counsel
16     stated they would seek leave of Court for expedited discovery after receiving USOC’s
17     motion.
18                  3. Between July 20-26, without first seeking or obtaining permission from
19     the Court, Plaintiff’s counsel served USOC with ten depositions in this case, nine of
20     which are also noticed in related cases before Judge Josephine L. Staton. Plaintiff served
21     all but one of these ten deposition notices and subpoenas on or after July 24. True and
22     correct copies of the ten deposition notices served in this particular case are attached
23     hereto as Exhibits 1-10.
24           4.     Plaintiff also served three extensive sets of written discovery requests in this
25     case and other related cases on July 25. True and correct copies of these sets of written
26     discovery are attached hereto as Exhibits 11-13.
27           5.     All of this comprehensive discovery was described by Plaintiff as
28     “Jurisdictional Discovery.”

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                  DECLARATION OF DAVID M. JOLLEY; CASE NO.: 2:18-CV-3461-JLS-KES
     Case 2:18-cv-03461-JLS-KES Document 30-1 Filed 07/31/18 Page 3 of 3 Page ID #:222



 1               6.     On July 27, 2018, I sent a detailed letter to Plaintiff’s counsel asking that
 2     they withdraw their untimely discovery. A true and correct copy of that letter is attached
 3     hereto as Exhibit 14. Plaintiff’s counsel responded by email, first by asking for several
 4     days to consider the request, and then, on July 30, by refusing to withdraw their early
 5     discovery. A true and correct copy of this email correspondence is attached hereto as
 6     Exhibit 15. As a result, that same day, USOC notified Plaintiff that it would be filing this
 7     Application on July 31.
 8               7.     The five separate Ex Parte Applications in the five related cases brought by
 9     Plaintiff’s counsel before Judge Staton against USOC required approximately eight hours
10     of my time to prepare. At my billing rate of $865/hour, the total amount of attorney’s
11     fees expended in connection with the Applications in these five related cases is estimated
12     at $6920.00. The precise amount will be determined and reported in a supplemental
13     filing.
14

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                 I declare under penalty of perjury under the laws of the State of California and the
16
       United States of America that the foregoing is true and correct.
17
                 Executed on July 31, 2018, in San Francisco, California
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19                                                       /s/ David M. Jolley
20                                                       David M. Jolley
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                      DECLARATION OF DAVID M. JOLLEY; CASE NO.: 2:18-CV-3461-JLS-KES
